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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-2C
                                                                                  Order Filed on August 4, 2017
     Rob Saltzman, Esquire                                                        by Clerk
     Pluese, Becker & Saltzman, LLC                                               U.S. Bankruptcy Court
                                                                                  District of New Jersey
     RS1765
     20000 Horizon Way, Suite 900
     Mount Laurel, NJ 08054-4318
     (856) 813-1700                                                  Case No.: 17-10031-ABA
     Attorneys' for the Mortgagee
     File No. 090922B
                                                                     Hearing Date: July 11, 2017
                                                                     Judge: Andrew B. Altenburg, Jr.
     In Re:
                                                                     Chapter 13
     Correne J. Thomas




               Recommended Local Form                      : Followed          __ Modified




                            ORDER RESOLVING MOTION TO VACATE STAY
                                   AND/OR MOTION TO DISMISS
                                       WITH CONDITIONS


    The relief set forth on the following pages, numbered two (2) through (3) is hereby ORDERED.




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Applicant:                                     US Bank Trust N.A., as trustee of Bungalow Series
                                               F Trust
Applicant's Counsel:                           Rob Saltzman, Esquire
Debtor's Counsel:                              Tamika Nicole Wyche, Esquire
Property Involved ("Collateral"):              6331 Harvey Avenue, Pennsauken Township, NJ
                                               08109
Relief Sought:                                 : Motion for Relief From the Automatic Stay


For good cause shown, it is ORDERED that Applicant's Motion is resolved, subject to the
following conditions:


1.     Status of post-Petition arrearages:
       : The Debtor is overdue for five months, from March 1, 2017 to July 1, 2017.
       : The Debtor is overdue for one payment at $1,531.45 per month.
       : The Debtor is overdue for four payments at $1,482.83 per month.
       Total Arrearages Due $7,462.77.


2.     Debtor must cure all post-Petition arrearages as follows:
       : A payment in the amount of $1,500 is in transit to the Mortgagee.
       : Beginning on August 1, 2017, regular monthly mortgage payments shall continue to be
made in the amount of $1,482.83.
       : The post-Petition arrearages of $5,962.77 will not be demanded pending the Debtor's
application for a Loan Modification. If a Loan Modification has not been approved within six
months of the entry of this Order, then all accrued arrearages will be due and payable.
       : Debtor shall have thirty days from the entry of the this Order to submit a complete Loan
Modification package to the Mortgagee.
       : In the event that any such mortgage modification or other consensual resolution is not
available, the Debtor shall acknowledge the pre-Petition arrearages as stated in the Proof of Claim.
The Debtor shall have 30 days from the date of any final notification that a modification, etc. is not
available to file an amended Chapter 13 Plan to cure the pre-Petition arrearages and maintain post-
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Petition payments or to convert the Chapter 13 Petition to one under a Chapter 7 Petition.



3.     Payments to the Secured Creditor shall be made to the following address(es):
       : Regular monthly payment:
                       BSI Financial Services
                       PO Box 679002
                       Dallas, TX 75267-9002

4.     In the event of Default:
       : If the Debtor fails to make the immediate payment specified above or fails to make any
regular monthly payment or the additional monthly cure payment within thirty (30) days of the date
the payments are due, then the Secured Creditor may obtain an Order Vacating the Automatic Stay
as to the Collateral by filing, with the Bankruptcy Court, a Certification specifying the Debtor's
failure to comply with this Order. At the time the Certification is filed with the court, a copy of the
Certification shall be sent to the Chapter 13 Trustee, the Debtor and the Debtor's attorney.


5.     Award of Attorney's Fees:
       : The Applicant is awarded attorneys fees of $350.00, and costs of $181.00.
       The fees and costs are payable:
       : through the Chapter 13 Plan.
